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UNITED sTATEs DISTRlCT coURT v
FoR THE MII)I)LE DlsTRlCT oF 14‘11¢;)__}{`!1)“,__\_J ,\ ;-;., \@-. '3
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PATRICK P. SPETH, an indi\'iciual,
Plaintiff,

V. Case No.: 3 lp~'CV-SOZ_,j__lg`-Sp!_,

L‘-.S. .\'PRESS, INC., a foreign
Corporation; and SMITII & SOI\T
SEAFOOD, INC.; a foreign corporation;

Dcfcndants.
f

 

DEFENDA.\`T’S. U.S. XPRESS. INC’S. E\'OTICE OF REMOVAL

COMES NOW' the Del`cndant, U.S. XPRESS. INC., by and through its undersigned
eounsel and pursuant to 23 U.S.C`.§I44l {a) and §144(1_. and hereby serves this Notice oi`
Rcrnoval ofthc state civil action entitlcd, PATRICK P. SPETH VS. L`.S. XPRESS. INC.
AND S:\”IITI'I & SOI\` SEAFO()D. INC.. brought in the Circuit Coul't in and for Duval
County, lflorida._ Case Numbcr 201 l-CA-OUSO¢‘¢? to the United States District Court for the
Middlc Distriet ofFlorida, Jaeksonville Division and in support thereof states the following
I. ST.-\TE COURT DOCKET

l. Pursuanl to Local Rule 4.02(h), the Del"endants have providedq
contemporaneously herewith, a true and correct copy of “all process, pleadings, orders, and
other papers or exhibits of every kind. including dcpositions._ then on tile in the slate court,"
II. BRIE F S'I`ATEI\"IEN'[` ()F PROCEDU R.»\l. FAC'I`S

2. This action involves a motor vehicle accident Whieh occurred on .lanuaiy l'f.

201 l._ in Nassau County, Flon`cla.

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3. The Complaint was initially filed by the PlaintiH` in state court on October 4,
2011 and an Amended Complaint was filed on October 28, 2011, properly naming the
Dcfendant, U.S. Xpress, lne.

4. The remaining Defendantl filed a Notice of Removal of this matter from
state court to Federal Court on November lSi 201 1 .

5. On January 30, 2012, an Order was entered denying, without prejudice, the
Defendant’s Notice of Removal2 and remanding the case to the Circuit Court of the Fourth
J udicial Circuit, in and for Duval County, Florida. (Doc. No. 13; Order.)

6. Footnote 4 of the Order states in part, “it`, through such discovery, U.S.
Xprcss ascertains that the case is one which is or has become removable, U.S. Xprcss may
consider filing another notice of removal, if timely, pursuant to 28 U.S.C. § 1446.” (Doc.
No. 13; Order.)

III. FEDERAL JURISDICTION
A. The Parties arc Citizens of Different States

7. By allegation and upon information and belief, the PlaintiFi`, Patn`ck P. Speth,
(Speth) is a citizen ot` the State of Florida. (As represented in the Amcndcd Complaint.) The
accident report for the incident alleged in the Amended Complaint indicates Speth has a
Flon`da driver’s license and a Florida address

8. U.S. Xpress, Inc. has its principal place of business in Tennessee and is
incorporated in Nevada.

9. Pursuant to 28 U.S.C. 1332(a), the cheral Court(s) have diversity

jurisdiction when the parties are “citizens of` different states.”

 

1 Upon information and belief, Defendant. Smith & Sons Seal'ood, lnc. is no longer a party to this litigation.
' Subscqucnt to the Noticc of Removal. a Partial Rcsponse to the Court’s initial Order requesting additional
information was filed by the Defendant.

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B. The Minimum Amount in Controversy requirement is satisfied.

10. On March 27, 2012, in a good faith attempt to determine the amount in
controversy, the Defendant served upon the Plaintiff, Requests for Admissions. The
Plaintiff timely responded to the Request for Admissions on April 3, 2012. (See attached as
Exhibit “”,A Plaintiffs Responses to Request for Admissions.)

1 1. Paragraph 3 of the Requests asks the Plaintiff to “admit that you will seek at
least $75,000, exclusive of interests and costs, from the trier of faet, as a result of the matters
alleged in your Amendcd Complaint.” The Plaintiffresponded, “Admitted.”

12. Pursuant to 28 U.S.C. §1446, this Notice of Removal is being filed within
one year of commencement of the action, and within 30 days of receipt by the Defendant,
of “other paper from which it may first be ascertained that the case is one which is, or has
become removable.”

13. Based on diversity jurisdiction of all parties involved and the amount in
controversy, removal to Federal Court is proper under 28 U.S.C. § 1441.

CMMM

WHEREFORE the Defendant, U.S. Xpress, lnc., gives notice that the referenced
action should be removed from the Circuit Court of the Fourth Judicial Circuit in and for
Duval Count, Flonda to the United Statcs District Court for the Middle Distn'ct of Florida,
Jacksonville Division, pursuant to 28 U.S.C. §1441 and pursuant to the procedures provided

in 28 u.s.c. §1446.

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/r}/
RESPECTFULLY SUBMITTED this _l: day of May_. 2012.

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CERTI FICATE OF SERVICE

 

I HEREBY CERTIFY that on May E._ 2012, I filed the foregoing document
with the Clerl< of the Court. I also certify that the foregoing document is being served
this day on all counsel of record identified on the attached Service List via facsimile and

U.S. Mail.

Service l_ist:

liarah & Farah

Brian Flaherty, Esquire

10 West Adams._ Suite 300
Jacksonville._ Florida 32202

FER:\‘ANDEZ TRIAL LA\\'YERS, P..»\.

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